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  B104 (FORM 104) (08/07)

         ADVERSARY PROCEEDING COVER SHEET                                                         ADVERSARY PROCEEDING NUMBER
                                                                                                  (Court Use Only)
                 (Instructions on Reverse)

PLAINTIFFS                                         DEFENDANTS Corporation Services Co., As Rep.
CE Electrical Contractors, LLC                    First Corporate Solutions, as Rep., Global Merchant
                                                  Cash, Inc., U.S. Business Administration, Wellen
                                                  Capital, LLC and Sonepar Distribution New
ATTORNEYS (Firm Name, Address, and Telephone No.) England,
                                                   ATTORNEYSInc. (If Known)
The Fox Law Corp., Inc.17835 Ventura Blvd. Ste306    Please see attached .
Encino, CA 91316 818-774-3545 Boatman Law LLC
155 Sycamore St. Glastonbury, CT 06033 860-291-9061
PARTY (Check One Box Only)                              PARTY (Check One Box Only)
□ Debtor        □ U.S. Trustee/Bankruptcy Admin         □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor      □ Other                                 □ Creditor    □ Other
□ Trustee                                               □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Request for Sec. 506 determination that Defendants' financing statements are unsecured and the entry of an
order voiding the financing statements.



                                                                      NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□                                                                                  □
    FRBP 7001(1) – Recovery of Money/Property                                      FRBP 7001(6) – Dischargeability (continued)
    11-Recovery of money/property - §542 turnover of property                         61-Dischargeability - §523(a)(5), domestic support
□   12-Recovery of money/property - §547 preference                                □   68-Dischargeability - §523(a)(6), willful and malicious injury
□   13-Recovery of money/property - §548 fraudulent transfer                       □   63-Dischargeability - §523(a)(8), student loan
□   14-Recovery of money/property - other                                          □   64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                          (other than domestic support)

□
    FRBP 7001(2) – Validity, Priority or Extent of Lien
    21-Validity, priority or extent of lien or other interest in property
                                                                                   □   65-Dischargeability - other



                                                                                   □
                                                                                   FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property                                       71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)          □   72-Injunctive relief – other


□
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                   □
                                                                                   FRBP 7001(8) Subordination of Claim or Interest
    41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                      81-Subordination of claim or interest


□
    FRBP 7001(5) – Revocation of Confirmation
                                                                                   □
                                                                                   FRBP 7001(9) Declaratory Judgment
    51-Revocation of confirmation
                                                                                      91-Declaratory judgment


□
    FRBP 7001(6) – Dischargeability
                                                                                   □
                                                                                   FRBP 7001(10) Determination of Removed Action
    66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
□   62-Dischargeability - §523(a)(2), false pretenses, false representation,
                                                                                      01-Determination of removed claim or cause

        actual fraud
□                                                                                  □
                                                                                   Other
    67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny        SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                       (continued next column)                                     □   02-Other (e.g. other actions that would have been brought in state court
                                                                                           if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                     □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint       Demand $
Other Relief Sought The entry of an order voiding the Defendants' financing statements.
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ADVERSARY PROCEEDING COVER SHEET (FORM 1040), CONT’D

ATTORNEYS FOR DEFENDANTS

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                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF CONNECTICUT
                                HARTFORD DIVISION

________________________________________
                                                        CHAPTER 11
In re:
         CE ELECTRICAL CONTRACTORS, LLC                 CASE NO. 21-20211 (JJT)
              Debtor
                                                        ADV. PROC NO. 21-______
________________________________________

CE ELECTRICAL CONTRACTORS, LLC
          Plaintiff,

         v.

CORPORATION SERVICES CO. AS
REPRESENTATIVE, FIRST CORPORATE
SOLUTIONS, AS REPRESENTATIVE,
GLOBAL MERCHANT CASH, INC.,
U.S. SMALL BUSINESS ADMINISTRATION,
WELLEN CAPITAL, LLC AND SONEPAR
DISTRIBUTION NEW ENGLAND, INC.,                         JANUARY 25, 2022
           Defendants.
________________________________________

                COMPLAINT TO DETERMINE VALUE OF DEFENDANTS’
              INTERESTS IN PROPERTY OF ESTATE AND TO VOID LIENS

         Comes Now, CE ELECTRICAL CONTRACTORS, LLC (“CE”, “Debtor” or

“Plaintiff”), the Debtor in the above-captioned case, with its Complaint.

         The Debtor seeks an Order under 11 U.S.C. § 506(a) and (d)(1) first determining

that the Defendants’ liens, all in the form of financing statements filed with the Secretary

of State for the State of Connecticut, are not secured by interest in property of the estate

and then voiding such liens under § 506(d).
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                                         I.
                         PARTIES, JURISDICTION AND VENUE

       1.     On March 5, 2021, the Debtor filed its voluntary petition for relief under

Chapter 11 of the United States Code.

       2.     This Court has jurisdiction over this proceeding pursuant to 28 U.S.C.

§ 157(b)(2)(A), (B), (K) and (O), and § 1334.

       3.     This is a core proceeding.

       4.     This Complaint sounds under 11 U.S.C. § 506(a) and (d).

       5.     The proceeding arises in and arises under and is related to the bankruptcy

case pending in the U.S. Bankruptcy Court for the District of Connecticut, In re CE

Electrical Contractors, Case No. 21-20211.

       6.     Venue lies in the District of Connecticut as the Debtor filed its petition for

relief in this Court. 28 U.S.C. §§ 1408 and 1409.

       7.     The Plaintiff is an electrical sub-contractor providing services under contract

in Connecticut and previously in other jurisdictions as well.

       8.     The Defendant, Corporate Services Company (“CSC”), is sued in its

capacity as a representative for an unnamed entity asserting an interest in assets of the

estate through CSC. It is authorized to do business in the State of Connecticut. The

Plaintiff sues CSC with respect to the two liens that CSC filed in representative capacities

against the Debtor.

       9.     The Defendant, First Corporate Solutions (“FCS”), is sued in its capacity as

a representative for an unnamed entity asserting an interest in assets of the estate

through FCS. It is authorized to do business in the State of Connecticut.


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         10.      The Defendant, Global Merchant Cash, Inc., is a New York corporation.

         11.      The Defendant, U.S. Small Business Administration, is an agency of the

United States government.

         12.      The Defendant, Wellen Capital, LLC, an Illinois entity, is an entity authorized

to do business in the State of Connecticut.

         13.      The Defendant, Sonepar Distribution New England, Inc., also known as

NorthEast Distributors, is authorized to do business in the State of Connecticut.

                                                 II.
                                          BACKGROUND FACTS

         14.      Prepetition, the Defendants recorded financing statements (referred to

herein as “liens”) with the Secretary of State for the State of Connecticut on the following

dates:

               Entity                   Date Filed        Security Interests Asserted
                                                          (general description)

               CSC (first               7/15/2019         Receivables
               recording)
               FCS                      12/31/2019        All present and future
                                                          assets
               Global Merchant          1/7/2020          All assets
               Cash, Inc.
               U.S. SBA                 8/1/2020          Tangible & intangible
                                                          property, e.g. invent.,
                                                          equip. & accounts
               CSC (second filing) 10/16/2020             All Assets
               Wellen Capital, LLC 12/18/2020             Undefined future
                                                          receivables
               Sonepar                  1/4/2021          Goods CE purchased from
               Distribution N.E.,                         Sonepar & proceeds
               Inc. (NorthEast
               Distributors)




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      15.    Prior to the dates that any Defendant filed its liens, both People’s United

Bank (“People’s”) and Liberty Bank (“Liberty”) recorded financing statements with the

Secretary of State for the State of Connecticut.

      16.    People’s and Liberty filed proofs of claim asserting that they are secured

creditors in the aggregate amount of $898,671.02.

      17.    A hearing on confirmation of the Debtor’s proposed Plan will be held in the

spring of 2022.

      18.    In connection with confirming a Plan, the Debtor seeks to determine which

financing statements are secured by estate property pursuant to § 506(a)(1). As to those

financing statements that are not found to be secured, then pursuant to § 506(d)(1), the

Debtor seeks to void them.

      19.    The likely sum of the Debtor’s liened assets, including monies, receivables

and other personal property, is $930,616.40, though the sum may be different at the time

of a hearing on valuation.

      20.    The aggregate amount of money owed to People’s and to Liberty is almost

as much as the value of the estate’s interest in property in which the estate has an

interest. § 506(a)

         FIRST CLAIM FOR RELIEF - FOR DETERMINATION OF SECURED
                              STATUS § 506(a)
                           (Against all Defendants)

      21.    The Plaintiff refers to and, by this reference, incorporates and alleges herein

each and all the allegations set forth in Paragraphs 1 through 20, inclusive, of this

Complaint.



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       22.    Other with the potential exception of the senior lien next in priority after

Liberty’s financing statement, none of the Defendants’ liens attaches to any interest in

property in which the estate has an interest.

       23.    As a result, the Defendants’ liens are unsecured.

       24.    The Plaintiff requests a finding and Order of the Court that, with the potential

exception of the one lien next in priority after Liberty’s financing statement, none of the

Defendants’ financing statements are secured by a lien in property in which the estate

has an interest.

          SECOND CLAIM FOR RELIEF – AVOIDANCE OF LIENS. § 506(d)
                          (Against all Defendants)

       25.    The Plaintiff refers to and, by this reference, incorporates and alleges

herein, each and all the allegations set forth in Paragraphs 1 through 23, inclusive, of this

Complaint.

       26.    As none of the Defendants’ financing statements is secured by liens in

property in which the estate has an interest, the Defendants’ financing statements, with

the potential exception of some portion of the lien that is next in priority after Liberty’s

financing statement, should be voided by the Court.

       WHEREFORE, the Debtor, CE Electrical Contractors, LLC, respectfully requests

that this Court: (i) find and Order that none of the Defendants’ financing statements is

secured by liens on property in which the estate has an interest; and (ii) void all financing

statements the Defendants have recorded against the Plaintiff in the office of the

Secretary of State for the State of Connecticut.




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                                    PLAINTIFF and DEBTOR,
                                    CE ELECTRICAL CONTRACTORS, LLC,

                                    By: /s/ Steven R. Fox__________________
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                                    Its Attorneys




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